[Cite as State v. Batchelor, 2024-Ohio-3232.]



                                    IN THE COURT OF APPEALS

                           TWELFTH APPELLATE DISTRICT OF OHIO

                                            BUTLER COUNTY




 STATE OF OHIO,                                   :

        Appellee,                                 :     CASE NO. CA2024-01-008

                                                  :           OPINION
     - vs -                                                    8/26/2024
                                                  :

 KEITH L. BATCHELOR,                              :

        Appellant.                                :




                 CRIMINAL APPEAL FROM FAIRFIELD MUNICIPAL COURT
                           Case No. 2023 CRB 02180-01, -02


Kyle M. Rapier, and Stephen J. Wolterman, City of Fairfield Prosecuting Attorney, for
appellee.

Christopher P. Frederick, for appellant.



        HENDRICKSON, J.

        {¶ 1} Appellant, Keith L. Batchelor, appeals from the sentence imposed by the

Fairfield Municipal Court following his no contest pleas to multiple misdemeanor offenses.

For the reasons set forth below, we affirm his sentence.

        {¶ 2} On September 1, 2023, in Fairfield Municipal Court Case No. 23 CRB 01808

("Case 01808"), appellant was charged with one count of obstructing official business in
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violation of Fairfield Codified Ordinance 525.07(A), a misdemeanor of the second degree.

Appellant gave city of Fairfield police officers a false name when they were actively

investigating a disorderly conduct complaint.

       {¶ 3} After appellant failed to appear in court on the charge in Case No. 01808,

he was charged under a new case number, Fairfield Municipal Court Case No. 23 CRB

01947 ("Case No. 01947"), with one count of failure to comply with a court order in

violation of R.C. 2705.02, a misdemeanor of the fourth degree.

       {¶ 4} Finally, following an incident that occurred on November 9, 2023, appellant

was charged in Fairfield Municipal Court Case No. 23 CRB 02180 ("Case 02180") with

one count of obstructing official business in violation of Fairfield Codified Ordinance

525.07, a misdemeanor of the second degree, one count of misuse of 911 in violation of

Fairfield Codified Ordinance 537.12(C), a misdemeanor of the fourth degree, and one

count of violating a seatbelt requirement in violation of Fairfield Codified Ordinance

337.27(b)(3), a minor misdemeanor. The charges arose following an incident where a

vehicle that appellant was a passenger in was pulled over. Appellant, who was not

wearing a seatbelt, gave a false name to a city of Fairfield police officer. He refused to

get out of the vehicle and lied about his name for more than 54 minutes. During that time

frame, appellant called 9-1-1 knowing no emergency existed.

       {¶ 5} On December 6, 2023, appellant appeared before the municipal court on all

three case numbers. At that time, he pled no contest to all charged offenses. After

accepting appellant's plea and finding him guilty, the court sentenced appellant to 90 days

in jail, with five days suspended, a $750 fine, and five years of reporting community control

on the obstructing official business charge in Case No. 01808. Appellant was sentenced

to 30 days in jail, with five days suspended, a suspended $250 fine, and five years of

reporting community control in Case No. 01947 for failing to comply with a court order.

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Finally, in Case No. 02180, appellant was sentenced to a $150 fine on the seatbelt

charge, with $110 suspended, 30 days in jail, with five days suspended, and a $250 fine

on the misuse of 9-1-1 charge, and 90 days in jail, with 30 days suspended, a $750 fine,

and five years of reporting community control on the obstructing official business charge.

The jail sentences were ordered to be served consecutively, which resulted in an

aggregate jail sentence of 240 days, with 45 days suspended.

       {¶ 6} Appellant appealed his sentences in Case Nos. 01808, 01947 and 02180,

raising the following as his sole assignment of error:

       {¶ 7} THE TRIAL COURT ABUSED ITS DISCRETION IN SENTENCING MR.

BATCHELOR TO 240 DAYS IN JAIL WITH FIVE YEARS REPORTING COMMUNITY

CONTROL.

       {¶ 8} Appellant argues that the trial court abused its discretion in sentencing him

to 240 days in jail and five years of community control as the sentence "cannot be deemed

proportional to the nature of the offenses committed." Appellant contends such a lengthy

jail sentence with five years of reporting community control is unwarranted where the

record fails to reflect that the court considered the nature of the offenses or whether he

had a prior criminal history.

       {¶ 9} "We review a trial court's sentence on a misdemeanor violation under an

abuse of discretion standard." State v. Jezioro, 2017-Ohio-2587, ¶ 6 (12th Dist.). An

abuse of discretion connotes more than an error of law or judgment; it implies that the

trial court's attitude is unreasonable, arbitrary, or unconscionable. State v. Fluhart, 2021-

Ohio-2153, ¶ 23 (12th Dist.).

       {¶ 10} Pursuant to R.C. 2929.21 and 2929.22, trial courts have broad discretion

when determining what sentence is appropriate for each given misdemeanor case. State

v. Kinsworthy, 2014-Ohio-2238, ¶ 30 (12th Dist.). When determining the appropriate

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sentence, the trial court must be guided by the purposes of misdemeanor sentencing

which are "to protect the public from future crime by the offender and others and to punish

the offender." R.C. 2929.21(A). The trial court must also consider the factors listed in

R.C. 2929.22(B)(1) and may consider any other factors that are relevant to achieving the

purposes and principles of misdemeanor sentencing. R.C. 2929.22(B)(2). The factors

set forth in R.C. 2929.22(B)(1) include the following:

              (a) The nature and circumstances of the offense or offenses;

              (b) Whether the circumstances regarding the offender and the
              offense or offenses indicate that the offender has a history of
              persistent criminal activity and that the offender's character
              and condition reveal a substantial risk that the offender will
              commit another offense;

              (c) Whether the circumstances regarding the offender and the
              offense or offenses indicate that the offender's history,
              character, and condition reveal a substantial risk that the
              offender will be a danger to others and that the offender's
              conduct has been characterized by a pattern of repetitive,
              compulsive, or aggressive behavior with heedless
              indifference to the consequences;

              (d) Whether the victim's youth, age, disability, or other factor
              made the victim particularly vulnerable to the offense or made
              the impact of the offense more serious;

              (e) Whether the offender is likely to commit future crimes in
              general, in addition to the circumstances described in
              divisions (B)(1)(b) and (c) of this section;

              (f) Whether the offender has an emotional, mental, or physical
              condition that is traceable to the offender's service in the
              armed forces of the United States and that was a contributing
              factor in the offender's commission of the offense or offenses;

              (g) The offender's military service record.


R.C. 2929.22(B)(1)(a)-(g). "Although it is preferable that the trial court affirmatively state

on the record that it has considered the criteria set forth in R.C. 2929.21 and R.C.

2929.22, the statute does not mandate that the record state that the trial court considered

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the applicable factors." Kinsworthy at ¶ 30. "A trial court is presumed to have considered

the applicable statutory factors when the sentence is 'within the statutory limits and there

is no affirmative showing that the trial court failed to do so.'" Id., quoting State v. Collins,

2005-Ohio-4755, ¶ 12 (3d Dist.).

       {¶ 11} Furthermore, with respect to consecutive sentences, we have previously

determined that "[a] trial court is not required to make consecutive sentence findings

under R.C. 2929.14(C)(4) prior to ordering consecutive sentences for jail terms imposed

for misdemeanor offenses." Fluhart, 2021-Ohio-2153 at ¶ 25. Rather, R.C. 2929.41(B)(1)

controls the imposition of consecutive sentences for misdemeanor offenses. That statute

provides that so long as the aggregate jail term to be served does not exceed 18 months,

"[a] jail term . . . for a misdemeanor shall be served consecutively to any other prison

term, jail term, or sentence of imprisonment when the trial court specifies that it is to be

served consecutively . . . ." (Emphasis added.) Id. See also State v. Henson, 2021-

Ohio-38, ¶ 17 (12th Dist.) (a trial court need only "specify" that the jail terms being

imposed are to be served consecutively for misdemeanor consecutive sentences).

       {¶ 12} After a thorough review of the record, we find no error in the trial court's

decision to sentence appellate to 240 days in jail with five years of reporting community

control for the two second-degree misdemeanor offenses and the two fourth-degree

misdemeanor offenses. The sentence imposed for each offense falls within the statutory

limits for second-and-fourth-degree misdemeanor offenses.            R.C. 2929.24(A)(2) (the

maximum jail term a trial court can impose for a second-degree misdemeanor offense is

90 days); R.C. 2929.24(A)(4) (the maximum jail term a trial court can impose for a fourth-

degree misdemeanor offense is 30 days); R.C. 2929.25(A)(2) (the maximum duration for

all community control sanctions imposed upon an offender cannot exceed five years).

       {¶ 13} Though the trial court did not specifically reference R.C. 2929.21 or 2929.22

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when imposing appellant's sentence, the court clearly considered appellant's criminal

history, his pattern of refusing to cooperate with law enforcement, and his failure to comply

with court orders. In the span of a few months, appellant was arrested on multiple

offenses relating to his refusal to identify himself to officers. Appellant escalated his

behavior in the November 9, 2023 incident (Case No. 02180) when he called 9-1-1

knowing no emergency existed. At sentencing, appellant acknowledged that the offenses

he was being sentenced for were not the only times he refused to cooperate with officers

or gave a false name to law enforcement.1 The court clearly took this into consideration

in fashioning a sentence that both punished appellant and protected the public from future

crime by appellant. Moreover, the court properly imposed consecutive sentences by

specifying the jail-terms were to run consecutively to one another. As a result, we find

that the trial court did not abuse its discretion in sentencing appellant to 240 days in jail

with five years of reporting community control. Appellant's sole assignment of error is



1. At sentencing, the following discussion was held:

                THE COURT: [W]hen [appellant] wants to go on and on and on about –
                to these police officers about how he knows his rights and he doesn't
                have to identify himself and waste time and resources, you pay the price
                for that.

                So anything else you want me to know, sir? Because you did it on
                September 1st, and you did it again on November 9th, when they had an
                open warrant for you not showing up on the September 1st case.

                [Appellant]: Your Honor, I've been doing this for – since I, you know,
                been stopped by police and they all get dismissed. So I can –

                THE COURT: Well, guess what.

                [Appellant]: I know.

                THE COURT: This one didn't.

                [Appellant]: I know, but I continue to do it, because I feel like if my rights
                are being violated, I'm going to fight for my rights regardless.

                THE COURT: Well, you do that. But you need to know what your rights
                are, not just make them up. . . .

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overruled.

      {¶ 14} Judgment affirmed.


      S. POWELL, P.J., and PIPER, J., concur.




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